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 COUNSEL FOR TODD TRAVERS

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 In re:                       §                                Case No. 19-34054-sgj11
                              §
 HIGHLAND CAPITAL MANAGEMENT, §
 L.P. 1                       §                                Chapter 11
                              §
 Debtor.                      §

  MOTION TO COMFIRM TIMELINESS OF FILED CLAIM, OR ALTERNATIVELY,
    TO ALLOW LATE-FILED PROOF OF CLAIM FILED BY TODD TRAVERS

 NO HEARING WILL BE CONDUCTED HEREON UNLESS A WRITTEN RESPONSE
 IS FILED WITH THE CLERK OF THE UNITED STATES BANKRUPTCY COURT AT
 1100 COMMERCE STREET, ROOM 1254, DALLAS, TEXAS 75242 ON OR BEFORE
 JULY 5, 2022, WHICH IS AT LEAST 21 DAYS FROM THE DATE OF SERVICE
 HEREOF.

 ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE CLERK, AND A
 COPY SHALL BE SERVED UPON COUNSEL FOR THE MOVING PARTY PRIOR TO
 THE DATE AND TIME SET FORTH HEREIN. IF A RESPONSE IS FILED A
 HEARING MAY BE HELD WITH NOTICE ONLY TO THE OBJECTING PARTY.

 IF NO HEARING ON SUCH NOTICE OR MOTION IS TIMELY REQUESTED, THE
 RELIEF REQUESTED SHALL BE DEEMED TO BE UNOPPOSED, AND THE COURT
 MAY ENTER AN ORDER GRANTING THE RELIEF SOUGHT OR THE NOTICED
 ACTION MAY BE TAKEN.

 1
   The last four digits of the Reorganized Debtor’s taxpayer identification number are (8357). The Reorganized
 Debtor is a Delaware limited partnership. The Reorganized Debtor’s headquarters and service address are 100
 Crescent Court, Suite 1850, Dallas, TX 75201.


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 TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

            Todd Travers (the “Movant” or “Travers”), a creditor in the above-referenced case,

 hereby files this Motion to Confirm Timeliness of Filed Claim, or Alternatively, to Allow Late-

 Filed Proof of Claim, (the “Motion”), and in support, would show the following:

            1.       On October 16, 2019 (the “Petition Date”), the Debtor filed a voluntary petition

 for relief under chapter 11 of the Bankruptcy Code in the Bankruptcy Court for the District of

 Delaware, Case No. 19-12239 (CSS) (the “Delaware Court”).

            2.       On October 29, 2019, an Official Committee of Unsecured Creditors (the

 “Committee”) was appointed by the United States Trustee in the Delaware Court.

            3.       On December 4, 2019, the Delaware Court entered an order transferring venue of

 the Debtor’s bankruptcy case to this Court [Docket No. 186].2

            4.       The Debtor continues to operate as a debtor-in-possession pursuant to sections

 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed.

            5.       On March 2, 2020, the Court entered its Order (I) Establishing Bar Dates for

 Filing Claims and (II) Approving the Form and Manner of Notice Thereof [Docket No. 488] (the

 “Bar Date Order”), which established April 8, 2020 as the deadline for any person or entity,

 other than Governmental Units, to file proofs of claim against the Debtor (the “General Bar

 Date”) and April 23, 2020 as the deadline to file claims for investors in funds managed by the

 Debtor (the “Fund Investor Bar Date”).

            6.       On March 31, 2020, the Debtor filed its Emergency Motion for an Order

 Extending Bar Date Deadline for Employees to File Claims [Docket No. 557] (the “Employee


 2
     All docket numbers refer to the docket maintained by this Court.


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 Bar Date Motion”), requesting an extension of the General Bar Date for employees of the

 Debtor only as a result of shutdowns caused by the COVID-19 pandemic. The Court’s Order

 Granting Debtor’s Emergency Motion and Extending Bar Date Deadline for Employees to File

 Claims [Docket No. 560] (the “Employee Bar Date Order”) set a new employee claim bar date

 of May 26, 2020 (the “Employee Bar Date”). A copy of the Employee Bar Date Order is

 attached hereto as Exhibit A.

         7.      Neither the Employee Bar Date Motion nor the Employee Bar Date Order specify

 whether the Debtor’s request pertains only to current employees of the Debtor or includes both

 past and current employees. The Employee Bar Date Order provides that “[t]he General Bar Date

 is hereby extended, solely for the Debtor’s employees, to file claims that arose against the Debtor

 prior to the Petition Date through and including May 26, 2020 at 5:00 p.m. (Central Time).”

 Docket No. 560.

         8.      As a past employee of the Debtor, Movant took notice of the Employee Bar Date

 Order and acted accordingly, filing Proof of Claim No. 180, attached hereto as Exhibit B, on

 May 11, 2020, which was amended on December 18, 2020 as Proof of Claim No. 202, attached

 hereto as Exhibit C. The descriptions of Travers’s claim against the Debtor, as set forth in

 Exhibits B and C, are incorporated herein by this reference.

         9.      Counsel for Travers contacted Gregory V. Demo, counsel for the Debtor, on June

 10, 2022 regarding the relief requested herein. Mr. Demo indicated that the Debtor is opposed to the

 late filing of Travers’s claim.




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                                ARGUMENTS & AUTHORITIES

        A.       Travers’s Proof of Claim No. 180 should be deemed to be timely-filed.

        10.     As stated herein, neither the Employee Bar Date Motion nor the Employee Bar

 Date Order specify whether the Debtor’s request pertains only to current employees of the Debtor

 or includes both past and current employees, but states that such claims include claims of the

 Debtor’s employees that arose against the Debtor prior to the Petition Date. Indeed, such a

 definition appears to include the claims of past employees, such as Travers.

        11.     As such, in the absence of language limiting such an application, the Court should

 construe the language of the Employee Bar Date Order as inclusive of the claims of past

 employees no longer employed by the Debtor as of the Petition Date and enter an order

 accordingly, deeming Travers’s claim as timely-filed.

        B.      Alternatively, Leave to File a Late-Filed Proof of Claim Should be Given.

        12.     In the alternative, Travers’s seeks an order allowing him to file his claim after the

 General Bar Date. As explained more fully below, the Debtor and creditors will not be prejudiced

 by allowing Travers’s proof of claim to be considered timely or allowing Travers to file a proof

 of claim after the General Bar Date.

        13.     Federal Rule of Bankruptcy Procedure 9006(b)(1) empowers a bankruptcy court

 to permit a late filing if the movant’s failure to comply with an earlier deadline “was the result of

 excusable neglect.” See Fed. R. Bankr. P. 9006(b)(1). More specifically, Rule 9006(b) provides:

                (b) Enlargement.

               (1) In General. Except as provided in paragraphs (2) and (3) of this
        subdivision,
               when an act is required or allowed to be done at or within a specified
               period by these rules or by a notice given thereunder or by order of court,



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                the court for cause shown may at any time in its discretion (1) with or
                without motion or notice order the period enlarged if the request therefore
                is made before the expiration of the period originally prescribed or as
                extended by a previous order or (2) on motion made after the expiration of
                the specified period permit the act to be done where the failure to act was
                the result of excusable neglect.

                (2) Enlargement not permitted. The court may not enlarge the time for
                taking action under Rules 1007(d), 2003(a) and (d), 7052, 9023, and 9024.

                (3) Enlargement governed by other rules. The court may enlarge the time
                for taking action under Rules 1006(b)(2), 1017(e), 3002(c), 4003(b),
                4004(a), 4007(c), 4008(a), 8002, and 9033, only to the extent and under
                the conditions stated in those rules. In addition, the court may enlarge the
                time to file the statement required under Rule 1007(b)(7), and to file
                schedules and statements in a small business case under § 1116(3) of the
                Code, only to the extent and under the conditions stated in Rule 1007(c).

 Fed. R. Bankr. P. 9006(b); see also Greyhound Lines, Inc. v. Rogers (In re Eagle Bus. Mfg., Inc.),

 62 F.3d 730 (5th Cir. 1995) (quoting Pioneer Inv. Servs. Co. v. Brunswick Assoc. Ltd. P’ship,

 507 U.S. 380, 382 n. 2 (1993) (quoting Bankruptcy Rule 9006(b)(1))).

        14.     The determination of whether a movant’s conduct constitutes “excusable neglect”

 is “at bottom an equitable one, takin account of all relevant circumstances surrounding the

 party’s omissions,” including “(1) the danger of prejudice to the debtor; (2) the length of delay

 and its potential impact on judicial proceedings; (3) the reason for the delay, including whether it

 was within the reasonable control of the movant; and (4) whether the movant acted in good

 faith.” See Pioneer, 507 U.S. at 395; see also In re Eagle Bus. Mfg., Inc., 62 F.3d at 737; In re

 Pilgrim's Pride Corp., 2011 WL 576070, at *3 (Bankr. N.D. Tex. Feb. 9, 2011) (citations

 omitted). The Supreme Court in Pioneer made clear that excusable neglect is “not limited to

 situations where the failure to timely file is due to circumstances beyond the control of the filer.”

 See Pioneer, 507 U.S. at 391. Rather, the Court found that “Congress plainly contemplated that




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 the courts would be permitted, where appropriate, to accept late filings caused by inadvertence,

 mistake, or carelessness” even though “inadvertence, ignorance of the rules, or mistakes

 construing the rules does not usually constitute “excusable neglect.” See id. at 388, 392.

                    i.       There is no danger of prejudice to the Debtor.

            15.     Courts have generally held that the prejudice to the opposing party is the most

 critical consideration. See Integrated Resources, Inc., 157 B.R. 66, 70 (S.D.N.Y. 1993); In re

 White Motor Corp., 59 B.R. 286, 289 (Bankr. N.D. Ohio 1986).

            16.     In determining whether the debtor will be prejudiced, courts analyze whether the

 allowance of a particular late-filed claim would “jeopardize the success of the reorganization,” by

 “forc[ing] the return or … amounts already paid out under the confirmed plan, or affect[ing] the

 distributions to creditors and equity holders.” In re O’Brien Envtl. Energy, Inc., 188 F.3d 116,

 128 (3d Cir. 1999). Other courts have looked at whether allowing the late-filed claim would be

 likely precipitate a flood of similar claims,3 whether the debtor expects the claim,4 or whether the

 debtor had knowledge of the claim.5 The Fifth Circuit has held that when the debtor had

 knowledge of the claim before it negotiated and confirmed the plan of reorganization, the debtor

 was not prejudiced, granting leave to amend. See Eagle Bus. Mfg., Inc., 62 F.3d at 737-38.

            17.     In this case, the Debtor knew Travers held a claim against the Debtor and included

 Travers as a creditor in its Schedule E/F. See Debtor’s Schedules [Docket No. 247] at p. 35.

 Additionally, the Debtor included in its Schedule E/F aggregate, unspecified priority and

 nonpriority claims of “All Employees” for “Employee Wages & Bonuses” and nonpriority claims

 of “45 Employees” for “Deferred Awards” and of “46 Employees” for “Prior year employee


 3
     See In re Kmart Corp., 381 F.3d 709, 714 (7th Cir. 2004).
 4
     See In re Alexander’s Inc., 176 B.R. 715, 722 (Bankr. S.D.N.Y. 1995)


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 bonuses.” See Debtor’s Schedules at p. 17-18.

            18.      Further, Travers’s claim was filed prior to the Employee Bar Date and within

 forty-five (45) days of the General Bar Date. The Debtor has had ample notice of Travers’s claim

 for more than two years as of the filing of this Motion.

            19.      Finally, the Debtor had notice of Travers’s claim prior to the filing of its plan of

 reorganization. The Debtor’s first Plan of Reorganization [Docket No. 944] (the “Plan”) was not

 filed until August 12, 2020, more than three months following the filing of Travers’s Proof of

 Claim No. 180. Consequently, under Fifth Circuit law, the Debtor cannot claim to be prejudiced

 by allowing Travers to file a late-filed proof of claim.

            20.      For these reasons, there is no danger of prejudice to the Debtor in deeming

 Travers’s claim as timely, or alternatively, allowing the claim as late-filed.

                     ii.      The length of delay will not adversely impact the administration of this
                              case.

            21.      As mentioned herein, the Debtor not only included Travers as a creditor in its

 Schedules but also had notice of Travers’s claim three months prior to the filing of its Plan. The

 claim allowance process remains ongoing, and the Court’s determination of timeliness or

 allowance for late filing of Travers’s claim will not delay the Debtor’s distribution to other

 creditors in this case.

                     iii.     The reasons for the delay were not within the control of the Movant.

            22.      The Fifth Circuit has applied an elastic standard to this factor. “The standard for

 determining whether a party's neglect of a deadline is excusable is a flexible one because it is

 rooted in equity … excusable neglect is not limited to errors caused by circumstances beyond the


 5
     See e.g. In re O’Brien, 188 F.3d at 128.


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 late filing party's control.” In re Eagle Bus Mfg., Inc., 62 F.3d at 739 (citing United States v.

 Clark, 51 F.3d 42, 43 (5th Cir.1995)).

         23.     “The terms of court orders, plan of reorganizations, and stipulations between

 parties are typically examined under principles of contract interpretation.” In re Felt Mfg. Co.,

 Inc., 402 B.R. 502, 511 (Bankr.D .N.H.2009) (citations omitted.). “The unambiguous terms of an

 order are given their plain meaning.” In re Sw. Ranching, Inc., No. 01-23337-C-11, 2013 WL

 6670544, at *3 (Bankr. S.D. Tex. Dec. 17, 2013) (citing In re Endeavor Highrise, L.P., 432 B.R.

 583, 638 (Bankr.S.D. Texas 2010) (“[W]hen a contract is ‘so worded that it can be given certain

 or definite legal meaning or interpretation,’ it is not ambiguous and must be construed according

 to its plain meaning as a matter of law.”).

         24.     Although Travers received notice of the bankruptcy and the General Bar Date, he

 also received notice of the Employee Bar Date Order, which extended the deadline for the

 “Debtor’s employees … to file claims that arose against the Debtor prior to the Petition Date,”

 until May 26, 2020. As a past employee, with a claim falling within the description included in

 the Employee Bar Date Order, Travers acted in compliance with the Employee Bar Date Order in

 filing his claim.

         25.     If the Court determines that Travers’s interpretation of the plain language included

 in the Employee Bar Date Order was incorrect, such a mistake is understandable in light of the

 plain language of the Employee Bar Date Order, and equity, the overarching purpose of the

 Pioneer analysis, would be served by allowing Travers leave to file his claim.

                 iv.    The Movant acted in good faith.

         26.     As stated above, Travers interpreted the Employee Bar Date Order to include the




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 pre-petition claims of past employees and acted in compliance with the Employee Bar Date

 Order in filing his claim. Travers acted in good faith in filing his claim and now files this Motion

 in good faith and with an abundance of caution to preempt any objection by the Litigation

 Trustee to his claim based upon the file date.

                                          CONCLUSION

        27.     Travers requests this Court enter an order deeming his Proof of Claim No. 180 as

 timely filed, or alternatively, allowing Travers leave to file an untimely proof of claim. The

 interests of equity and the Pioneer factors support the entry of an order granting the requested or

 alternative relief. Leave to file a late claim will not prejudice the Debtor, the Trustee, or other

 unsecured creditors in this case, as the Movant’s claim was included in the Debtor’s schedules,

 and all parties had notice of the same. Movant comes to the Court humbly and in good faith, and

 prays that the Court exercise its discretion to grant the Motion.

        WHEREFORE, PREMISES CONSIDERED, Travers respectfully requests that the Court

 enter an order allowing his late-filed claim, and for such other and further relief as the Court may

 deem proper.




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  Dated: June 10, 2022                                 Respectfully submitted,

                                                       /s/ Megan F. Clontz
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                                                       COUNSEL FOR TODD TRAVERS

                               CERTIFICATE OF CONFERENCE

           I hereby certify that I contacted Gregory V. Demo, counsel for the Debtor, on June 10, 2022
  regarding the relief requested herein. Mr. Demo indicated that the Debtor is opposed to the late
  filing of Travers’s claim.

                                                       /s/ Jason P. Kathman
                                                       Jason P. Kathman

                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on or before June 13, 2022, a true and correct copy
  of the above and foregoing document was served via United States first class mail, postage
  prepaid, upon the parties on the attached service list.

                                                       /s/ Megan F. Clontz
                                                       Megan F. Clontz




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